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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

TAYLOR ADDY,                                :
                                            :
                      Plaintiff,            :       CIVIL ACTION FILE
                                            :       NO.: 1:22-CV-851-WMR
v.                                          :
                                            :
JOBO’S, INC., et al.,                       :
                                            :
                      Defendants.           :


                          ORDER SETTING MEDIATION

       This case has been referred to the undersigned for mediation. Accordingly,

all   parties   and     their      lead   counsel   are   ORDERED     TO     APPEAR

TELEPHONICALLY before the undersigned on Tuesday, March 14, 2023, at

10:00 a.m. Counsel will be provided call-in information for the joint session

approximately 14 days prior to the mediation. Counsel shall also provide the Court

with their preferred contact information for the individual caucuses at least three

days prior to the mediation. The requirement that the parties appear is intended to

increase the efficiency and effectiveness of the mediation by reducing the time for

communication of offers and expanding the ability to explore options for settlement.

A representative of the insurer who has full settlement authority shall also participate

on behalf of any party who is insured.



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      Mediation conferences are often unproductive unless the parties have

exchanged demands and offers before the conference and have made a serious effort

to settle the case on their own. Before the mediation, the parties are to negotiate and

make a good faith effort to settle the case without the involvement of the Court.

Specific proposals and counter proposals shall be made. If settlement is not

achieved before the mediation, the parties shall be prepared to engage in further

negotiation at the conference.

      Each party shall provide to the undersigned, in confidence, a concise

statement identifying the significant issues that would need to be resolved if the case

proceeds at least three business days before the conference. The statements

should include analysis of the strengths and weaknesses of the case and shall outline

the settlement negotiations to date. The statement is not to exceed four typed pages,

double-spaced.

      The purpose of the mediation is to facilitate settlement of this case, if that is

appropriate. The conference will be conducted in such a manner as to not prejudice

any party in the event settlement is not reached.          To that end, all matters

communicated to the undersigned in confidence will be kept confidential and will

not be disclosed to any other party, or to the trial judge. The undersigned, of course,

will not serve as the trial judge in this case. In accordance with the Local Rules of

this Court, the parties agree, by participating in the settlement conference, “that any

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statements made or presented during the . . . conference are confidential and may not

be used as evidence in any subsequent administrative or judicial proceedings.” LR

16.7I.(5), NDGa.

      During the joint caucus of the mediation, the parties, through counsel, should

be prepared to give a brief presentation outlining the factual and legal highlights of

the case. Separate, confidential caucuses will then be held with counsel for each

party and the parties or a party’s representative(s). Attached is an outline for counsel

to review with the parties prior to the mediation to make the best use of the limited

time allotted.

      Let a copy of this Order be served upon counsel for the parties.

      IT IS SO ORDERED this 17th day of February, 2023.

                                        /s/ J. Clay Fuller
                                        J. Clay Fuller
                                        United States Magistrate Judge




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              SETTLEMENT CONFERENCE PREPARATION


Experience shows that in negotiations the party who is best prepared usually obtains
the best result. Settlement conferences are more efficient if all parties and counsel
are prepared. Consider the following points, some of which may not apply, to aid in
the effectiveness of your settlement conference.

A.    FORMAT

         1. Parties with ultimate settlement authority must be personally present.
            If this is not possible, you must notify the judge in advance and discuss
            the alternatives.

         2. The Court will use a mediation format, and private caucusing with each
            side; the judge may address your client directly. The judge will not
            meet with parties separate from counsel.

B.    ISSUES

         1. What issues (in and outside of this lawsuit) need to be resolved? What
            are the strengths and weaknesses of each issue? What is your most
            persuasive argument?

         2. What remedies are available resulting from this litigation? From a
            settlement?

         3. Is there any ancillary litigation pending or planned which affects case
            value? What about liens?

         4. Do you have enough information to value the case? If not, how are you
            going to get more information before the conference?

         5. Do attorney’s fees or other expenses affect settlement? Have you
            communicated this to the other side?

         6. Is Defendant and/or its carrier solvent?




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C.   AUTHORITY

       1. Are there outstanding liens? Have you verified amounts and whether
          they are negotiable? Do we need to include a representative of the lien
          holder? If so, contact the judge and a notice of the settlement
          conference will be sent.

       2. Is there valid insurance coverage? In what amount? If coverage is at
          issue, or the amount/type affects settlement value, have you notified the
          other side? Do we need to include the representative from more than
          one company/carrier? If so, notify the judge immediately.

D.   NEGOTIATIONS

       1. Where did your last discussion end? Are you sure?

       2. Schedule with opposing party. Discussions before the settlement
          conference to make it proceed more efficiently. At least one offer and
          response is required.

       3. What value do you want to start with? Why? Have you discussed this
          with your client?

       4. What value do you want to end with? Why? Have you discussed this
          with your client? It is significantly different from values you have
          placed on this case at other times? Does your client understand why?

       5. Is there confidential information which affects case value? Why
          can’t/won’t/shouldn’t it be disclosed? How can the other side be
          persuaded to change value if it doesn’t have this information?

       6. What happens if you don’t settle the case at the conference? What is
          your best alternative to a negotiated settlement? Why? What might
          change the outcome of the settlement conference? Pending motions,
          discovery, expert’s report, etc.




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E.   CLOSING

         1. Have you discussed settlement formats with your client? Does the
            client understand structured settlements, annuities, Rule 68 offers of
            judgment?

         2. How soon could checks/closing documents be received?

         3. If settlement is not reached, and further discovery is needed, what is
            your plan for continuing settlement discussions? Do you want the
            Court involved in these talks?

         4. If settlement is not reached, be prepared to discuss it again at the
            Final Pretrial conference.




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